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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF COLORADO

MOSES RANDOLPH,                          )
                                         )
        Plaintiff,                       )      Case No. 1:17-cv-02514-STV
                                         )
v.                                       )
                                         )
ALLY FINANCIAL SERVICES,                 )
                                         )
        Defendant.                       )

CONSENT MOTION TO DISMISS COMPLAINT WITHOUT PREJUDICE

        COME NOW Plaintiff Moses Randolph, by counsel, and Defendant Ally

Financial Inc., by counsel (collectively, the “Parties”), and by agreement of the

Parties to this action, represent to the Court that the matters in controversy in this

action will be submitted to binding arbitration pursuant to the arbitration clause of

the Contract between the Parties.

        Accordingly, the Parties respectfully request that this Court dismiss the action

without prejudice. A proposed Consent Dismissal Order is attached hereto as Exhibit

1.




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Respectfully submitted, this 8th day of January, 2018.

Prepared and Consented to by:             Consented to by:
TROUTMAN SANDERS, LLP                     KIMMEL & SILVERMAN, P.C.

 /s/ Ethan G. Ostroff                        /s/ Joseph C. Hoeffel
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                         CERTIFICATE OF SERVICE

        I hereby certify that on the 8th day of January, 2018, a true copy of the

foregoing Consent Motion to Dismiss Complaint without Prejudice was filed with

the Clerk of the Court using CM/ECF, which will send a notice of electronic filing

(NEF) upon the following counsel of record:

                               Attorneys for Plaintiff:

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                                              /s/ Ethan G. Ostroff




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